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 In/erini Lead C oitnsel /01 Plain/i//s and the Proposed Classes

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

 IN RE MERCEDES-BENZ EMISSIONS                      Civil Action No. 16-88 l(JLL)(JAD)
 LITIGATION
                                                             NOTICE OF VOLUNTARY
                                                                  DISMISSAL



To:     Clerk and All persons on ECF service list

        PLEASE TAKE NOTICE THAT pursuant to Rule 41(a)(1)(A)(i) of the federal Rules of

Civil Procedure, Plaintiffs Gwendolyn Andary and Darrell Feller only hereby give notice of their

voluntary dismissal of their claims in this action. Dismissal of this action is without prejudice,

and the parties shall hear their own attorneys’ fees and costs. Defendants have not filed an

answer or   a motion for   summary judgment with respect to Plaintiffs’ complaint.

DATED: March 14. 2019                           Respectfully submitted.

                                                CARELLA, BYRNE, CECCHI, OLSTEIN,
                                                BRODY & AGNELLO, P.C.

                                                By /c/ James E. Cecchi
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